
One of the principal questions arising in this case is as to the construction to be placed on a contract made by the plaintiff in error tc indemnify the defendants in errcr against losses arising from uncollectible debts. This is to be held as a contract of insurance, and the rule applies to it which does to other policies of insurance, viz., that all ambiguities in such a polioy are to be given that construe*890iiou which is most favorable tc the assured. There certainly can be no question but the policy in this case is on the point at issue between these parties most ambiguous, so much so as to induce one to believe that it was designed.
Follett &amp; Kelley, for Plaintiff in Error.

Littleford &amp; Morris, Ballard &amp; Sawyer, contra.

In view of the rule we have stated, we are of the opinion that the construction placed on this contract by Judge Wright when ruling on a demurrer to a part of the answer of the defendant company, which is before us, was correct, and therefore that his rulings as to the demurrer, evidence, etc., were in accordance with that view and were not erroneous. Nor do we see error in other rulings in the case prejudicial to the plaintiff in error,and the judgment will therefore be affirmed with costs, but without penalty.
